         Case 3:09-cr-01209-H                     Document 1246                  Filed 02/28/12              PageID.4910                Page 1 of 4

   "M0245B       (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                                FIL,ED
                 Sheet 1                                                                                                                          -
                                             UNITED STATES DISTRICT COUR1!!_~_~"
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                FEB 2 8 201l.
                                                                                                                                             ,"
                                                                                                                     ~HERl"J ~~l$-i,.'tt..:~ 0~=
                                                                                                                                                       .....!
                                                                                                                         CLEI'i~, ',,!,8. ilJ\'\ li'llCT COURT



                   UNITED STATES OF AMERICA                                       JUDGMENT IN A C                              L'CASE '
                                       v.                                         (For Offenses Committed On or After November 1, 1987)

                        DESIREE HOLIDAY (14)                                      Case Number: 09CR1209-H
                          also known as: Desi
                                                                                   Adam Ruben
                                                                                  Defendant' 5 Attorney
   REGISTRATION NO. 13912-298

   o
   THE DEFENDANT:
   [8] pleaded guilty to count(s)            I of the Indictment.

   o     was found guilty on count(s)
         after a plea of not gUilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
   Title & Section                          Nature of Offense                                                                              Number(sl
18 USC 1962(d)                       CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A
                                     PATTERN OF RACKETEERING ACTIVITY




             The defendant is sentenced as provided in pages 2 through                 4         of this judgment. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.
  o Count(s)
  o The defendant has been found not guilty on count(s)
             _ _ _ _ _ _ _ _ _ _ _ __
                                                                                 is   0    areD dismissed on the motion of the United States.
  181 Assessment: $100.00,
  181 Fine waived                                    o    Forfeiture pursuant to order filed
                                                                                            -----------------
                                                                                                                                    included herein.
             IT IS ORDERED that the defendant shall notity the United States attorney for this district within 30 days of any change of name, residence,
       or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
       defendant shall notity the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                      FEBRUARY 27, 2012
                                                                                   Date ofimposition of Sentence




                                                                                      HON.  MARiLYN~FFL \~
                                                                                           i"'lu4·
                                                                                      UNITED STATES DISTRICT JUDGE



                                                                                                                                                   09CR1209-H
    Case 3:09-cr-01209-H                            Document 1246      Filed 02/28/12      PageID.4911           Page 2 of 4

AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                             Judgment - Page    2     of       4
DEFENDANT: DESIREE HOLIDAY (]4)
CASE NUMBER: 09CR1209-H
                                                              IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
          30 DAYS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.    Op.m.     on
               as notified by the United States Marshal.

    181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         181 on or before Friday April13, 20]2 by ]2:00 PM.
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                 RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNllED STATF-S MARSHAL

                                                                       By
                                                                                        DEPlITY UNlTIlD STATIlS MARSHAL




                                                                                                                           09CR1209-H
        Case 3:09-cr-01209-H                    Document 1246           Filed 02/28/12           PageID.4912             Page 3 of 4

AO 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release
                                                                                                       Judgment-Page    - L - of _.......;4=--_ _
DEFENDANT: DESIREE HOLIDAY (14)                                                                 o
CASE NUMBER: 09CR1209-H
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shaH be on supervised release for a term of:
3 YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than ...i- drug tests per month during
the term of supervision, unless otherwise ordered by court.
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, ifapplicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
18I Backing Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
D The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, ifapplicable.)

D The defendant shaH participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the ftrst five days of
        each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     tbe defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit conftscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties ofrisks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to conftrm the
         defendant's compliance with such notification requirement.
                                                                                                                                   09CR1209-H
           Case 3:09-cr-01209-H                       Document 1246       Filed 02/28/12           PageID.4913             Page 4 of 4

       AO 245B     (Rev. 9100) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                        Judgment-Page   -.L- of _.....;4:...._ _
       DEFENDANT: DESIREE HOLIDAY (14)                                                             II
       CASE NUMBER: 09CR1209-H




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
D   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be
    required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's
    ability to pay.

D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Participate in a mental health treatment program as directed by the probation office.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
19j Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within       days.
o    Complete            hours of community service in a program approved by the probation officer within
19j Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of seven (7) months.
D Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
     commencing upon release from imprisonment.

D Remain in your place ofresidence for a period of                              ,except while working at verifiable employment, attending religious
     services or undergoing medical treatment.
o Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
181 Not engage in employment or profession of real estate, real estate financing, or any business loan programs, or any profession involving
     fiduciary responsibilities without the express approval of the probation officer.



o The
  Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
       defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
     on the defendant's ability to pay.


                                                                                                                                        09CR1209-H
